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JOYCE PENNELL CIVIL ACTION NO.
Plaintiff,
V.

THE LAW OFFICES OF MARK L. NICHTER,P.C.
AND MARK L. NICHTER, INDIVIDUALLY

Defendant AUGUST 13, 2008

QM

1. Plaintiff seeks relief pursuant to the Fair Debt Collection Practices Act (FDCPA)
15 U. S. C 1692 ; and pursuant to Connecticut General Statutes Section 36a- 800 et seq
and regulations promulgated thereunder; and the Connecticut Unfair Trade Practices Act
( CUTPA) Connecticut General Statutes Section 42- 110a et seq.

2. The Court’sjurisdiction is conferred by 15 U. S. C. 1692 k and 28 U. S. C. 1331
and 1367.

3. The Plaintiff is a natural person who resides at 10 Hillwood Pl., Norwalk,

in the State of Connecticut and within the District of Connecticut.

4. The Plaintiff is a consumer within the FDCPA.

5. The debt at issue is a consumer debt as defined by the FDCPA,

6. The Defendant, the Law Offices of Mark L. Nichter, P C is a New York
professional corporation with its principal place of business located at 44 South

Broadway, White Plains, NeW York; upon information and belief said Defendant does

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not have an office located Within the State of Connecituct; and, the Defendant LaW
Offices of Mark L. Nichter, P C is directly or indirectly engaged in the business of a

debt collection agency, uses the mail in a business Whose principal purpose is the
collection of consumer debts and regularly collects debts on behalf of others or debts due
to another Within and throughout the State of Connecticut and the District of Connecticut
7. At all relevant times mentioned herein the Defendant Law Offices of Mark L.

Nicliter, P C was not a licensed Consumer Collection Agency in Connecticut as defined
under Connecticut General Statutes Sections 36a-800 et seq.

8. Upon information and belief the Defendant Mark L. Nichter is an attorney at the law
firm of Goldberg, Grabowski & Nichter located at 5 East Hickory Lane, Pilesgrove, New
Jersey; the Defendant Mark L. Nichter is an individual and attorney admitted to practice
Law in the States of New York and New Jersey and has an interest in the Defendant the
Law Offices of Mark L. Nichter.

9. At all times mentioned herein the Defendant Mark L. Nichter Was not a licensed
Consumer Collection Agency in the State of Connecticut as defined under Connecticut
General Statutes Sections 36a- 800 et seq.

10. The Defendant, Attorney Mark L. Nichter Was not licensed to practice law in the
State of Connecticut at all relevant times mentioned herein.

11. On or about September 25, 2007, the Defendant contacted the Plaintiff regarding
Account Number 8672-1000827360 by unsigned letter, bearing the inscription “Mark L.

Nichter, P.C.”, and “Attorney at Law” and “The LaW Offices of Mark L. Nichter,PC”

”, a copy of Which is attached hereto as Exhibit A.

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12. Said Exhibit A also carries the admonition that “If We do not receive payment we

may recommend legal proceedings against you without further notice.”

13. Said Exhibit A caused the Plaintiff to experience mental and emotional anguish and

distress.

FIRST COUNT FDCPA VIOLATIONS

14. The Defendant violated the FDCPA in the following ways inter alia;

a. in that the Defendants used false, deceptive or misleading representations or means
in connection with the collection of the Plaintiff” s purported debt in violation of 15 U S
C Section l692e;

b. in that the Defendants made the false representation or implication that he was an
attorney or law firm competent to take legal action in Connecticut when he was not
licensed to do so;

ct in that the Defendants falsely represented or implied that an attorney had reviewed
the Plaintiff’s file and the aforementioned Exhibit A before the aforementioned letter was
sent to the Plaintiff;

d. in that said communication was unfair, or deceptive within the meaning of the
FDCPA',

e. in that the Defendant made use of a false representation and or deceptive means to

collect or attempt to collect a debt in violation of 15 U S C l692e (l());

f. by threatening to take a legal action which could not be taken in violation of 15 U
SC

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1692e(5), namely by threatening to proceed against the Plaintiff and or to
recommend proceedings against the Plaintiff when said action could not legally be taken
by the Defendants because said Defendants were not licensed to practice law within the
State of Connecticut

g. in that the Defendants engaged in the unauthorized practice of law within the
State of Connecticut;

h. in that the Defendants violated Section 36a-800 et Seq of the Connecticut General
Statutes by inter alia collecting debts on behalf of others when Defendants were not

licensed to do so.

SEC()ND COUNT Connecticut Unfair Trade Practices Act

15. The relevant paragraphs above and foregoing are hereby re-alleged and set forth
as if fully set out herein.

16. The Defendants’ conduct is harmful to consumers including the Plaintiff;

17'. The Defendants’ conduct as set forth above is in violation of 36a - 800 et seq and
is thereby offensive and or in contradiction to the public policy of the State of

Connecticut as articulated or set forth in there above referenced statutes

18. Said Defendant’s engaged in the unauthorized practice of law also in contradiction
to the public policy of the State of Connecituct.
19. The Plaintiff sustained an ascertainable loss as a consequence of and resulting from

the aforementioned conduct of the Defendant.

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WHEREFOR_E Plaintiff` requests the Court to:

1. Award Plaintiff such damages as are permitted by law, both compensatory and
punitive, including 31000.00 statutory damages;

2. Actual damages

3. Double or Treble damages pursuant to CUTPA;

4. Compensation for mental and emotional distress;

5. Award the plaintiff costs of suit and reasonable attomey’s fees;

6. Award declaratory and injunctive relief and such other form of relief as law or equity

may provide

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THE PLAINTIFF

 

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